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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 MCALLEN DIVISION

 UNITED STATES OF AMERICA,             §
                                       §
                     Plaintiff,        §
                                       §
 v.                                    §        CASE NO. 7:20-CV-21
                                       §
 2.749 ACRES OF LAND, MORE OR LESS, §
 SITUATE IN HIDALGO COUNTY,            §
 STATE OF TEXAS; AND HELEN             §
 CATHERINE HARDWICKE ET AL.,           §
                                       §
                    Defendants.        §
______________________________________________________________________________

                       COMPLAINT IN CONDEMNATION
______________________________________________________________________________

        1.      This is a civil action brought by the United States of America at the request of the

Secretary of the Department of Homeland Security, through the Acquisition Program Manager,

Wall Program Management Office, U.S. Border Patrol Program Management Office Directorate,

U.S. Border Patrol, U.S. Customs and Border Protection, Department of Homeland Security, for

the taking of property under the power of eminent domain through a Declaration of Taking, and

for the determination and award of just compensation to the owners and parties in interest.

        2.      The Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.§

1358.

        3.      The interest in property taken herein is under and in accordance with the authority

set forth in Schedule “A.”

        4.      The public purpose for which said interest in property is taken is set forth in

Schedule “B.”

        5.      The legal description and map or plat of land in which certain interests are being

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acquired by the filing of this Complaint, pursuant to the Declaration of Taking, are set forth in

Schedules “C” and “D.”

       6.      The interest being acquired in the property described in Schedules “C” and “D” is

set forth in Schedule “E.”

       7.      The amount of just compensation estimated for the property interest being acquired

is set forth in Schedule “F.”

       8.      The names and addresses of known parties having or claiming an interest in said

acquired property are set forth in Schedule “G.”

       9.      Local and state taxing authorities may have or claim an interest in the property by

reason of taxes and assessments due and eligible.

       WHEREFORE, Plaintiff requests judgment that the interest described in Schedule “E” of

the property described in Schedules “C” and “D” be condemned, and that just compensation for

the taking of said interest be ascertained and awarded, and for such other relief as may be lawful

and proper.


                                                      Respectfully submitted,

                                                      RYAN K. PATRICK
                                                      United States Attorney
                                                      Southern District of Texas

                                              By:     s/ Hilda M. Garcia Concepcion_____
                                                      HILDA M. GARCIA CONCEPCION
                                                      Assistant United States Attorney
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                                                      McAllen, TX 78501
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  SCHEDULE
     A
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  SCHEDULE
      B
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  SCHEDULE
     C
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  SCHEDULE
      D
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    SCHEDULE
        E
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    SCHEDULE
        F
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     SCHEDULE
        G
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                                         SCHEDULE G

                                    INTERESTED PARTIES

The following table identifies all persons who have or claim an interest in the property
condemned and whose names are now known, indicating the nature of each person’s property
interest(s) as indicated by references in the public records and any other information available to
the United States. See Fed. R. Civ. P. 71.1(c).


                           Interested Party
                           Helen Catherine Hardwicke
                           Address unknown
                           Alexandra Elizabeth Hardwicke
                           Address unknown
                           Mary Irene Hardwicke Olivieri
                                            ., Tucson, AZ 85743-8609
                           James Bennett Hardwicke
                                          , McAllen, TX 78502-3007
                           Richard Bruce Hardwicke
                                          , McAllen, TX 78502-3007
                           Sally Ann Hardwicke Brace
                                          , McAllen, TX 78502-3007
                           John B. Hardwicke VI
                           Address unknown
                           John B. Hardwicke Co.
                                          , McAllen, TX 78502-3007
                           Neuhaus & Sons,

                           Weslaco, TX 78599
                           Hidalgo County
                           Pablo (Paul) Villarreal Jr.
                           Tax Assessor-Collector
                           2804 S. Business Hwy 281
                           Edinburg, TX 78539
                           (956) 318-2157
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